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AO 9 1 (Rev. 08/09) C riminal Complaint


                                       UNITED STATES DISTRICT COUR FILED BY                                                   SP             D.C.
                                                                    for the
                                                      Sou them District of Florida                                      FEB 19 2020
                                                                                                                      ANGELA E NOBLE
                   United States of America                            )                                             CLERK lJ S DIS r CT
                                  V.                                   )                                             s D. OF FLA wrs:
                                                                       )      Case No. 20-8081-DLB
                 YACIEL MARAGOTO and                                   )
                JUAN CARLOS CRUZ PAZ,                                  )
                                                                       )
                             Defendanl(s)


                                                       CRIMINAL COMPLAINT

          I, the complainant in thi s case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of             Au ust 2018 - Februa    18 2020        in the county of _ _ _..c..P-=a'-"lm
                                                                                                                 _ B---'e'--'a-=c_h_ _ _ in the

     Southern            Di strict of - - --"---'
                                            Florida
                                                 -='-'--==--- --
                                                                   , the defendant(s) v iolated:

             Code Section                                                         Offense Description
Title 21 U.S.C. 841 (a)(1) and 846               Conspiracy to possess with intent to distribute 500 grams or more of cocaine




           T his criminal complaint is based on these facts:
See attached affidavit.




           ~ Continued on the attached sheet.




                                                                                                   Adam Ballew S/A DEA
                                                                                                     Printed name and title

Sworn to before me and signed in my presence.



Date:                                                                                   ~e_              Jh-=       f2_____
                                                                                                       Judge's signature


C ity and state:                       West Palm Beach FL
                                                                                                     Printed name and title
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                          AFFIDAVIT FOR CRIMI AL COMPLAINT
  Before me appeared Thomas Adam Ballew, who, being duly sworn, states as fo llows:
         1.      My name is Thomas Adam Ballew and I am a Special Agent with the Drug

  Enforcement Administration (DEA) and have been so employed since March 2008.                I have

  received specialized training in the investigation of the distribution of controlled substances,

  including those that include the distribution of cocaine and other controlled substances. In the

  course of my work, I have interviewed numerous cooperating drug dealers and confidential

  sources, have observed and conducted undercover operations and reviewed recordings of

  undercover meetings. I have been both directly and indirectly involved with investigations during

  which the interception of wire communications occurring over telephones being utilized to

  facilitate the distribution of controlled substances have occurred. I have also made arrests and

  assisted with arrests for controlled substance offenses. I am thereby familiar with the methods

  used by drug dealers to sell controlled substances.

         2.      The information in this Affidavit is written for the limited purpose of obtaining a

  criminal complaint charging Yaciel MARAGOTO and Juan Carlos CRUZ PAZ with conspiracy

  to possess with intent to distribute 500 grams or more of cocaine, in violation of 21 U.S.C. §§

  841(a)(l) and 846. Accordingly, it does not contain all I know about the case. The information

  herein is based on my own observations and participation in the investigation, discussions with

  other law enforcement officers including DEA agents and Palm Beach Sheriffs Office (PBSO)

  narcotics agents, a confidential source, a cooperating defendant, a review of audio/video

  recordings made by devices that were activated during the purchases of cocaine conducted during

  this investigation, as well as a review of the transcripts of wire communications intercepted during

  the Court authorized wire intercept of telephone number (561) XXX-0811. Additionally, unless

  otherwise noted, the below-described conversations between A.M. and Juan Carlos CRUZ PAZ
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  are based on preliminary transcriptions of intercepted wire communications which were conducted

  in Spanish and are subject to further revision.

         3.      In early 201 8, DEA and PBSO began investigating A.M., who was identified as a

  cocaine distributor operating in Palm Beach County, Southern District of Florida. On September

  11 , 201 9, the Honorable Donald M. Middlebrooks, United States District Court, Southern District

  of Florida, authorized the interception of wire communications occurring over telephone number

  (561) XXX-08 11 (hereinafter referred to as A.M.'s phone), known to be utilized by A.M. to

  facilitate the distribution of cocaine. Investigators began intercepting the wire communications

  occurri ng over A.M. 's phone on September 12, 20 19, and the interceptions terminated on October

  11 , 2019.   During this period, several phone calls were intercepted with one of A.M.'s co-

  conspirators, Juan Carlos CRUZ PAZ.           The fo llowing are examples of these intercepted

  communications:

         4.      On September 28, 20 19, at approximately 8:48 a.m., A.M. received an incoming

  call from CRUZ PAZ's phone and he spoke with CRUZ PAZ. After exchanging greetings, A.M.

  stated, "Talk to me chief. What's up? Today is a go." CRUZ PAZ responded, "Bad, bad news

  brother, check this out. The old woman took everything brother." A.M. asked, " Who?" CRUZ

  PAZ responded, " I left last night with lunintelligible], that crazy bitch took my box. I had two,

  two, two heavy equipments in there. She took it. I had like seven little ones and I had some money

  in there. She took it all. Lucky for me I took one. I took three up there and I returned with one

  and now I'm calling her, brother. She took everything here, everything. Furniture and the whole

  world and she finished me, brother. She took sixty something thousand dollars from me, brother.

  What the fuck? That old woman finished me, brother, now I'm fucked. I'm fucked." A.M. asked,

  "Where did she go? Where she go?" CRUZ PAZ responded, "I don' t know! I'm calling and she
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  doesn't want to say where she is. [Unintelligible] I have an equipment here, I have an equipment

  here that I brought it from there last night. What the fuck d ude, no." A.M. stated, "Well, if you

  want, bring it here to me. I'm here." CRUZ PAZ began talking about how the "woman" fin ished

  him and he was going crazy, and he stated, "Look, come pick it up. I'm scared of she coming over

  here. I don' t think she will show up here, brother, because, because she, she fini shed me. She

  took two animals, brother, two animals plus, plus, plus seven or eight small bags. [Unintelligible]

  plus some money I had here. Now I'm on the streets. On the street! What the fuck, bro? People

  had all the reason when they would tell me ' Hey, she's going to fuck you, she' s going to fuck you. '

  I got here at two in the morning [unintelligible] and I got here, everything brother she took the

  furniture and the whole world. And when I went to the box, shs! She left, she left me a letter in

  there." A.M. asked CRUZ PAZ to hold on. Agents heard another phone ringing in the background

  and heard A.M. answer that phone. A.M. then returned to the conversation and asked, "Then, she

  took the furniture too?"   CRUZ PAZ advised, "Yeah, no, the furniture were hers. I don't care.

  But you can believe she took two heavy equipments, two big chargers, plus the other stuff I had

  there. Plus a, no, no, no, no, now I' m fucked. Fucked! What kind of shit is that, my brother! Hey

  and last night when I left, I left around at one or so in the afternoon and damn! I had the urge to

  take everything out from there man. But look at that man, how the woman figured me out,

  brother." A.M. again asked CRUZ PAZ to hold on and appeared to answer another phone that

  was heard ringing in the background. CRUZ PAZ stated, " Hey, look," and A.M. responded, "Talk

  to me." CRUZ PAZ advised, "Come and pick this up. And I' ll pick that up later because I' m

  scared to leave here." A.M. repl ied," ... listen to what I'm going to tell you," and CRUZ PAZ

  stated, "Tell me." A.M. advised, "Listen to me, I [stutters] the one who is scared is me. I' m going

  to tell you why, because you don't know what else that fucking crazy lady can do." A.M. began
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 to explain to CRUZ PAZ that the "woman" was capable of doing anything and CRUZ PAZ

 reiterated that she had finished CRUZ PAZ. AM. then stated, "No, but the problem, look, listen,

  the problem is not that she finished you. You have to use your, you have to use your head now."

  CRUZ PAZ responded, "No, no, now I' m crazy." AM. advised, "That's why I'm going to tell

  you because she could send you to die with those people. Remember." CRUZ PAZ asked, "Huh?"

  A.M. stated, "She can kill you again with those people to avoid giving back your stuff." CRUZ

  PAZ responded, "No, no. I don't think so. She won' t give back shit. I have been calling to

  everyone. I have talked twice to her [unintelligible]. I don' t know where she is at ...." CRUZ

  PAZ again lamented about how CRUZ PAZ was in trouble. AM. stated, "I'm going to tell you

  something. The best thing you can do is call your associate that has your same name and have him

  come and pick up what's left behind, just in case. Because she's, she is capable of calling those

  people, and it goes ...." CRUZ PAZ and A.M.'s voices overlapped and CRUZ PAZ stated,

  " Yeah, I have here, I have here [unintelligibl e] big boxes. Do you want me to bring them to you?"

  AM. responded, "Well, if you want, bring them. Yeah." CRUZ PAZ stated, "I' m going to leave

  them with you but, alright I' ll bring them there." A.M. responded, "I' m not going there, what I

  don't want to do is go there [laughs] in those conditions. Are you crazy?" CRUZ PAZ then

  advised, "No, no, no I'll bring it to you. I'll bring it to you. Bye." A.M. said " Bye," and the call

  ended.

           5.    Based on my training, experience, and knowledge of this investigation, I believe

  that this call was related to CRUZ PAZ' s girlfriend stealing two (2) kilograms and seven or eight

  ounces of cocaine, along with some money, from CRUZ PAZ. I believe that AM. initially

  informed CRUZ PAZ that he (AM.) was ready to meet with CRUZ PAZ as initially discussed,

  but CRUZ PAZ informed AM. that CRUZ PAZ had bad news and explained that CRUZ PAZ's
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  girlfriend had taken all of the cocaine ("the old woman took everything"). I believe that CRUZ

  PAZ stated that CRUZ PAZ had left the previous night and that CRUZ PAZ's girlfriend had taken

  CRUZ PAZ's safe ("my box") that contained two (2) kilograms of cocaine ("two heavy

  equipments") in addition to seven ounces of cocaine and an unknown amount of money ("seven

  little ones and some money"). I beli eve that CRUZ PAZ further informed A.M. that it was

  fortunate that the previous day CRUZ PAZ had taken three (3) kilograms of cocaine to an unknown

  location where CRUZ PAZ distributed two (2) of the three kilograms and returned with one (1)

  ("Lucky for me I took one. I took three up there and I returned with one . . ."). I believe that

  CRUZ PAZ reported that CRUZ PAZ had been calling CRUZ PAZ' s girlfriend and reiterated that

  the girlfriend had taken everything, including furniture. I believe that CRUZ PAZ reported that

  the value of the stolen cocaine was in excess of $60,000.00 ("She took sixty something thousand

  dollars from me, brother"), which I believe confirms that CRUZ PAZ was specifically discussing

  cocaine as opposed to any other type of drug. 1 I believe that CRUZ PAZ had contact with the

  girlfriend but did not know her current location. I also believe that CRUZ PAZ informed A.M.

  that CRUZ PAZ cuJTently had a kilogram of cocaine in CRUZ PAZ's possession ("I have an

  equipment here, I have an equipment here that I brought it from there last night"), which is

  consistent with CRUZ PAZ' s earlier statement about taking three up the previous day and bringing

  one back. I further believe that A.M. offered to take possession of the kilogram of cocaine from

  CRUZ PAZ and asked CRUZ PAZ to deliver the kilogram to him ("Well, if you want, bring it




  1
   Based on the latest reported average street price of a kilogram of cocaine in the West Palm Beach
  area to be between $25,000.00 and $32,000.00, and the average price of an ounce of cocaine in the
  same area to be between $800.00 and $1300.00, I believe CRUZ PAZ specifically discussed
  cocaine when he stated that the value of the stolen cocaine (two kilograms and seven ounces) plus
  the stolen money was in excess of $60,000.00.
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  here to me. I' m here.").2 I believe that CRUZ PAZ again confirmed that the girlfriend had taken

  two kilograms of cocaine in addition to seven or eight ounces of cocaine and some money ("She

  took two animals, brother, two animals plus, plus, plus seven or eight smal I bags. [Unintelligible]

  plus some money I had here"). I believe that CRUZ PAZ stated that when CRUZ PAZ returned

  to the location CRUZ PAZ was using to store the cocaine, CRUZ PAZ noticed that furniture was

  missing. This caused CRUZ PAZ to check the safe in which the cocai ne was kept, which resulted

  in CRUZ PAZ finding a letter that the girlfriend had left(" . .. I got here, everything brother she

  took the furniture and the whole world. And when I went to the box, shs! She left, she left me a

  letter in there"). I also believe that when CRUZ PAZ discussed missing furniture, this was not

  coded language being used as a reference to an illegal item, but rather an explanation that the

  girlfriend had also taken furniture that belonged to her. I believe that CRUZ PAZ was not wonied

  about the furniture, but was distressed about the stolen cocaine (" .. . the furn iture were hers. I

  don' t care. But you can believe she took two heavy equipments, two big chargers, plus the other

  stuff I had there. Plus a, no, no, no, no now I'm fucked. Fucked!"). I believe that CRUZ PAZ

  asked A.M. to pick up the kilogram of cocaine from CRUZ PAZ and in turn, CRUZ PAZ would

  pick up the money from A.M. later because CRUZ PAZ was scared to leave ("Come and pick this

  up. And I' ll pick that up later because I' m scared to leave here"). I believe that A.M. then infonned

  CRUZ PAZ that he (A.M.) was also scared because CRUZ PAZ's girlfriend was unpredictable(" .

  . . you don't know what else that fucking crazy lady can do"). I believe that A.M. cautioned CRUZ

  PAZ to be smaii ("... you have to use your head now") and warned CRUZ PAZ that the girlfriend

  could attempt to avoid returning the cocaine by getting CRUZ PAZ into legal trouble by notifying


  2
   The GPS location data pertaining to A.M.'s phone indicated that at approximately 8:57 a.m.
  A.M.'s phone was in the area of 2464 Palm Road, West Palm Beach, Florida, which is known to
  be A.M. 's home address (with a certainty factor of 11 meters).
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  law enforcement of CRUZ PAZ's cocaine distribution, which could result in a long prison sentence

  for CRUZ PAZ (" ... she could send you to die with those people" and "She can kill you again

  with those people to avoid giving back your stuff'). 3 CRUZ PAZ responded that CRUZ PAZ did

  not believe that the girlfriend would do that, but agreed that she would not give the cocaine back.

  CRUZ PAZ indicated that CRUZ PAZ had spoken to the girlfriend twice and reiterated that CRUZ

  PAZ did not know her cunent location. I believe that A.M. advised CRUZ PAZ to call a third

  party with the same name as CRUZ PAZ to have that person pick up the cocaine in the event that

  CRUZ PAZ' s girlfriend called the police ("The best thing you can do is call your associate that

  has your same name and have him come and pick up what's left behind, just in case. Because

  she's, she is capable of calling those people ... "). I believe CRUZ PAZ asked if A.M. wanted

  CRUZ PAZ to bring the kilogram of cocaine to A.M. ("Do you want me to bring them to you?")

  to which A.M. agreed ("Well, if you want, bring them. Yeah"). I believe that CRUZ PAZ offered

  to transport the kilogram of cocaine to a location known to both CRUZ PAZ and A.M. where A.M.

  could pick it up ("I' m going to leave them with you but, alright I' ll bring them there"). I believe

  that A.M. informed CRUZ PAZ that, given the current circumstances, he (A.M.) was not going to

  the location to pick up the cocaine ("I' m not going there, what I don't want to do is go there

  [laughs] in those conditions. Are you crazy?"). 1 believe that CRUZ PAZ then clarified that CRUZ

  PAZ would bring the kilogram of cocaine directly to A.M. ("No, no, no I'll bring it to you. I' 11

  bring it to you").

          6.      On September 28, 2019, at approximately 9:26 a.rn. , law enforcement was able to

  establish visual surveillance at a residence frequented by CRUZ PAZ (hereinafter referred to as



  3 As previously mentioned, CRUZ PAZ has two prior federal convictions for narcotics related
  offenses. I believe that A.M . pointed out that a third arrest for cocaine related charges would result
  in a lengthy federal prison sentence for CRUZ PAZ.
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  CRUZ PAZ address # 1). Approximately 15 minutes later, law enforcement was able to establi sh

  simultaneous visual surveillance at A.M. ' s residence. 4

         7.        On September 28, 20 19, at approximately 9:45 a.m., a law enforcement officer

  conducting surveillance at A.M. 's residence observed a vehicle matching the description of a

  vehicle registered to CRUZ PAZ (hereinafter referred to as CRUZ PAZ vehicle # 1) back out of

  A.M.' s driveway and noted that it was being driven by an individual wearing a white T-shirt. Due

  to uncertainty regarding CRUZ PAZ's pending delivery of the kilogram of cocaine, law

  enforcement maintained their surveillance positions and did not follow the vehicle as it departed

  from the area.

          8.       On September 28, 20 19, at approximately 10:50 a.m ., law enforcement conducting

  surveillance at CRUZ PAZ address # 1 observed the aforementioned vehicle arrive at the residence

  and n·o ted that the individual wearing the white T-shirt exited the driver's seat carrying a bag. At

  this point, the individual was positively identified as CRUZ PAZ and it was confi rmed that the

  vehicle matched CRUZ PAZ vehicle # 1). 5 CRUZ PAZ was observed entering the residence where

  CRUZ PAZ stayed for a short time before returning to and re-entering CRUZ PAZ vehicle # 1 and

  departing the residence. Law enforcement initiated mobile survei Ilance of CRUZ PAZ and

  fo llowed CRUZ PAZ to a complex in Palm Beach County, Florida. Law enforcement entered the

  complex a short time after CRUZ PAZ and located CRUZ PAZ vehicle # 1 parked, unoccupied, in

  the lot. Law enforcement then established surveillance in the lot.



  4
    At approximately 9:44 a.m., the OPS location data pertaining to A.M. ' s phone indicated that
  A.M. 's phone was in the area of A.M.'s residence (with a Certainty Factor of 14 meters).
  5
    The law enforcement officer who observed CRUZ PAZ vehicle # 1 arrive identified CRUZ PAZ
  from CRUZ PAZ' s DAVID system photograph. Additionally, a check of the DAVID system
  revealed that the license plate is registered to a vehicle that is registered to CRUZ PAZ with a
  listed address of CRUZ PAZ address # 1.
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         9.      On September 28, 20 19, at approximately I I :40 a.m., law enforcement observed

  CRUZ PAZ exit a specific unit in the complex (CRUZ PAZ address #2) and stand outside briefly

  as if CRUZ PAZ was waiting for someone. CRUZ PAZ then re-entered the unit and, a short time

  later, a gray Chrysler 300 with dark tinted windows arrived in the lot and parked. Law enforcement

  observed a Hispanic male wearing a red shirt and a light colored hat (later positively identified as

  F.P.) exit the Chrysler 300 and walk to and enter CRUZ PAZ address #2. A short time later, law

  enforcement observed CRUZ PAZ and F.P. exit the apartment, enter the Chrysler 300, and exit

  the parking lot. Surveillance units followed the Chrysler 300 as it drove to the Enterprise Rent-A-

  Car located at 7750 Okeechobee Boulevard, West Palm Beach, Florida. While at Enterprise, law

  enforcement observed a Hispanic female wearing yoga pants and a black shirt (later identified as

  S.D.) join CRUZ PAZ and F.P. as they met with an employee and completed

  paperwork. Ultimately, CRUZ PAZ and F.P. entered a black Ford Explorer and departed from

  Enterprise. Law enforcement initiated mobil e surveillance of the Explorer and fo llowed CRUZ

  PAZ and F.P. as F.P. drove the Explorer to the Latin American Grill , 153 42 NW 79th Court,

  Hialeah, Florida, where they arrived at approximately 1: 15 p.m. Law enforcement observed

  CRUZ PAZ and F .P. exit the Explorer and walk towards the restaurant. A short time later, CRUZ

  PAZ walked alone back to the Explorer and quickly exited the parking lot. At this point, law

  enforcement was unable to conduct mobile surveillance of CRUZ PAZ and surveillance was

  terminated.

          10.    On September 28, 2019, at approximately 9:48 p.m., A.M. received an incoming

  call from CRUZ PAZ's number and spoke with CRUZ PAZ. After exchanging greetings, CRUZ

  PAZ stated, "Hey I went, I went down there to Mi ami , and I solved it." A.M. asked, "What?"

   CRUZ PAZ stated, "Uh, I went to Miami and I solved it, I solved it." CRUZ PAZ added, " You
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  know, I went to talk to the neighbors. AU-Haul truck came and picked up all the things. I believe

  she is at her son's house in Port Saint Lucie ... I talked to her daughters and they told me they

  will talk to her and I told them ' Tell her that she can keep all the other things but that stuff, but

  that [stutters] she must return it to me' .... " CRUZ PAZ began complaining about the situation

  and A.M. inteITupted and stated, "I'll, I'll call you back, dude [stutters] I'll call you back. CRUZ

  PAZ agreed and the call ended.

          11.     Based on my training, experience, and knowledge of this investigation, I believe

  that CRUZ PAZ informed A.M. that CRUZ PAZ had gone to Miami to meet with CRUZ PAZ's

  cocaine source of supply to discuss the aforementioned cocaine theft (" . .. I went down there to

  Miami, and I solved it"). Based on the fact that law enforcement observed CRUZ PAZ and F.P.

  travel to the area of Hialeah, Florida in a rented vehicle earlier in the day, I believe the purpose of

  this trip was for CRUZ PAZ to meet with CRUZ PAZ's cocaine source of supply. I further believe

  that CRUZ PAZ stated that CRUZ PAZ had been in contact with the girlfriend 's daughters and

  had instructed them to tell the girlfriend that she could keep everything except the cocaine which

  she needed to return to CRUZ PAZ ("I told them 'Tell her that she can keep all the other things

  but that stuff, but that [stutters] she must return it to me' ...").

          12.     On September 28, 2019, at approximately 9:53 p.m., A.M. placed an outgoing call

  to CRUZ PAZ' s number and spoke with CRUZ PAZ. CRUZ PAZ told A.M., "These people down

  there are really pissed off. I went down there and I solved but, shit. These people want to brush

  her up. Do you get me?" A.M . acknowledged and CRUZ PAZ stated, "Then, she left me a letter

  over there, a nasty letter . . . I wish you could see all what she tells me on that letter, like in case I

  do something. Do you get me?" CRUZ PAZ complained about the situation and A.M. asked,

  "And she does not answer the phone nor anything, right?" CRUZ PAZ advised, "No , she turned
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  it off ... I spoke with her like two or three times ... " and indicated that CRUZ PAZ told her,

  "Please, give me back the [unintelligible]. You can keep the other thing but that, give me back

  that, please. Please, otherwise there will be an awful problem .... " CRUZ PAZ continued to

  speak about the situation and later added " ... And she even left me a letter inside the box, dude.

  When I opened the box, she even had the box key ...." CRUZ PAZ informed A.M., "Shit,

  brother! No, no, no, fuck! [Stutters] I have to pay these people and that's it! There is no other

  way! She really fucked me up, man! She waited for the right opportunity!" A.M. advised, "She

  has, she has been watching you." CRUZ PAZ responded, "Oh, no. She really fucked me up and,

  with a good amount! Not a piece of shit, you know. " A.M. agreed and CRUZ PAZ stated, "If it

  were a small amount, I would care a shit. But no, she got me! She got me with two big bricks.

  Plus the money that she took and, some other crap that she also took away." CRUZ PAZ later

  stated, "They have that stuff over there. They have not gotten rid of that. Whom would they give

  it to? Those people deal just with little stuff. I don' t know. Unless she call somebody and give it

  to him. You know? But this won't end up just here ... And these people from down there want

  to, come up here. I told them 'No, no' because, do you get me? All the shit would fall over me,

  brother." A.M. agreed and CRUZ PAZ advised, "I already called her several times from the other

  phone of mine, uh, you know, and ...." A.M. interrupted and asked, "And, listen, and, and what

  does she say on the letter?" CRUZ PAZ stated, "What? The letter? I have it saved ... she says

  that she knows everything what I do for a living, all what I deal with, uh, everything, everything .

  . . ." CRUZ PAZ later added, " .. . But I blame myself, brother. I blame myself for having left

  that stuff over there, knowing all the things she already did to me in the past. Knowing that she

  already stole money from me, that she stole the other, I don' t know dude, how I, I'm too naYve.

  Too na'ive. I'm a damn stupid .... Shit!" CRUZ PAZ also repeated what CRUZ PAZ said to the
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  girlfriend's daughters, " I told them: ' Listen, tell her that I forgive her, and that, to give back that

  stuff and they could keep the other, that I don't care about it. But not the other stuff.' Do you get

  me? Because the other stuff is [scoffs] sixty grands that I have to give back, brother. Did you

  hear?" A.M. stated, "Dammit," and CRUZ PAZ reiterated, " For you to know. Sixty grands."

  After some additional conversation, A.M. and CRUZ PAZ agreed to talk later and the call ended.

          I 3.    Based on my training, experience, and knowledge of this investigation, I believe

  CRUZ PAZ reiterated that CRUZ PAZ had spoken to the girlfriend's daughters and instructed

  them to tell the girlfriend that CRUZ PAZ forgave her and that she could keep the money and

  furniture but she had to return the two kilograms of cocaine ("those horses") to CRUZ PAZ. I also

  believe that CRUZ PAZ stated that the cocaine source of supply, to whom CRUZ PAZ had spoken

  regarding the girlfriend's theft of the cocaine, was upset about the situation and indicated that they

  wanted to cause physical harm to CRUZ PAZ's girlfriend ("These people down there are really

  pissed off. I went down there and I solved but, shit. These people want to brush her up"). I believe

  that CRUZ PAZ also indicated that CRUZ PAZ had been able to speak with the girlfriend two to

  three times and had asked her to return the cocaine to avoid trouble(" ... give me back that, please.

  Please, otherwise there will be an awful problem .. ."). I believe that CRUZ PAZ attempted to

  convey to the girlfriend that the cocaine source of supply was unhappy with the girlfriend and

  wanted to harm her for stealing the cocaine. I believe that CRUZ PAZ informed A.M. that the

  girlfriend had a key to the safe/container in which the cocaine was stored because she placed the

  letter she left for CRUZ PAZ inside this safe/container (" . . . And she even left me a letter inside

   the box, dude. When I opened the box, she even had the box key ... "). I believe this demonstrates

  that CRUZ PAZ' s girlfriend knew what was inside the safe/container and had ready access to the

   safe/container by virtue of having a key. I believe that CRUZ PAZ's statement " . .. I have to pay
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  these people and that's it! There is no other way! " indicated that the cocaine sow-ce of supply had

  "fronted" CRUZ PAZ the cocaine, or provided it in advance of receiving payment, and that CRUZ

  PAZ was indebted to the source of supply the value of the cocaine. I believe that CRUZ PAZ

  again explained to A.M. that CRUZ PAZ's girlfriend had taken two kilograms of cocaine when

  CRUZ PAZ stated "If it were a small amount, I would care a shit. But no, she got me! She got

  me with two big bricks. Plus the money that she took and, some other crap that she also took

  away." I believe that CRUZ PAZ thought that the girlfriend was still in possession of the cocaine

  because she and/or her fami ly members and associates would not have a customer for kilogram

  quantities of cocaine due to the fact that they only distribute small amounts ("They have that stuff

  over there. They have not gotten rid of that. Whom would they give it to? Those people deal just

  with little stuff. I don't know. Unless she call somebody and give it to him .. ."). I believe that

  CRUZ PAZ again repeated that the cocaine source of supply was unhappy that the girlfriend had

  stolen the cocaine and wanted to travel from their location to deal with the situation, which CRUZ

  PAZ did not want to happen for fear that CRUZ PAZ would be blamed for whatever happened (" .

  . . And these people from down there want to, come up here. I told them 'No, no' because, do you

  get me? All the shit would fall over me, brother"). I believe that CRUZ PAZ's statement that the

  girlfriend wrote " .. . she says that she knows everything what 1 do for a living, all what I deal with,

  uh, everything, everything ... " confirmed that the gi rlfriend was aware that CRUZ PAZ was

  distributing kilogram amounts of cocaine and then made a deli berate choice to steal the remaining

  cocaine from the safe/locked container when CRUZ PAZ was away. I also believe that CRUZ

  PAZ took personal responsibility for the theft of the cocaine (" . .. But I blame myself, brother. I

  blame myself for having left that stuff over there, knowing all the things she already did to me in

  the past. Knowing that she already stole money from me, that she stole the other . .."). I fmiher
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  believe that CRUZ PAZ once again confi rmed that the amount of cocaine stolen by the girlfriend

  was two kilograms when CRUZ PAZ described to A.M . that CRUZ PAZ owed the source of

  supply $60,000.00 (" ... the other stuff is [scoffs] sixty grands that I have to give back, brother").6

           14.      On November 22, 20 19, United States Magistrate Bruce E. Reinhart, Southern

  District of Florida, authorized a tracking warrant for a second vehicle known to be utilized by

  CRUZ PAZ (hereinafter referred to as CRUZ PAZ vehicle #2).

           15.      On November 26, 20 19, at approx imately 3:50 a.m., law enforcement installed a

  covert tracking device on CRUZ PAZ vehicle #2 as it was parked in the parking lot in the vicinity

  of CRUZ PAZ address #2. At this time, electronic tracki ng of CRUZ PAZ vehicle #2 was initiated.

           16.      On December 10, 2019, at approximately 7:50 p.m., the tracking device installed

  on CRUZ PAZ vehicle #2 reported its location to be 14360 NW 77th Court, Hialeah, Florida, where

  it was stationary for approximately 15 minutes. The tracking device on CRUZ PAZ vehicle #2

  then reported a new location of 8360 Dundee Terrace, Miami Lakes, Florida, where it was

  stationary for approximately 13 minutes.7

           17.      On December 11, 20 19, at approximately 4:05 a.m., law enforcement located

  CRUZ PAZ vehicle #2 in the parking lot and replaced the covert tracking device installed on

  CRUZ PAZ vehicle #2 w ith another covert tracking device.

           18.      On December 30, 2019, at approximately 11 :53 a.m. , the tracking device on CRUZ

  PAZ vehicle #2 reported its location to be 8336 Dundee Terrace, Miami Lakes, Florida, where it


  6
    I believe this statement ind icated that the coca ine source of supply charged CRUZ PAZ $30,000.00 per kilogram of
  cocaine, which is within the prev iously mentioned average price range for a kilogram of cocaine in the West Palm
  Beach, Flo rida, area.
  7
    These locations are withi n an approximate one m ile drive from the location where law enforcement lost visual of
  CRUZ PAZ on September 2 8, 20 I9, as previously discussed in Parag raphs IOand 11. As previously discussed, law
  enforcement believes that CRUZ PAZ's trip on September 28, 20 19, was for the purpose of discussing the cocaine
  theft with the cocaine source of supply. Law enforcement futiher believes that CRUZ PAZ may have trave led back
  to th is area on December I 0, 2019, to e ither acquire additiona l cocaine for redistribution a nd/or to make a payment to
  the cocaine source of supply as reimbursement for the aforementioned cocaine theft.
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  remained for approximately 3 1 minutes. The tracking device on CRUZ PAZ vehicle #2 then

  reported a new location of 15346 NW 79th Court, Hialeah, Florida, where it remained for

  approximately 14 minutes. Approximately one hour later, the tracking device on CRUZ PAZ

  vehicle #2 reported in the Palm Beach County, Florida, area.

         19.    On January 6, 2020, law enforcement located CRUZ PAZ vehicle #2 in the parking

  lot near CRUZ PAZ address #2 and removed the tracking device pursuant to the provisions of the

  Tracking Warrant.

         20.    On February 11 , 2020, Judge Reinhart authorized another tracking warrant for

  CRUZ PAZ vehicle #2.

         21.    On February 13, 2020, at approximately 3:10 a.m. , law enforcement installed a

  covert tracking device on CRUZ PAZ vehicle #2 as it was parked in the parking lot in the vicinity

  of CRUZ PAZ address #2 . A t this time, electronic tracking of CRUZ PAZ vehicle #2 was initiated.

         22.    On February 14, 2020, at approx imately 8:20 a.m. , the tracking device repo11ed its

  location to be 3696 S. Congress Avenue, Palm Springs, Florida.          A short time later, law

  enforcement located CRUZ PAZ vehicle #2 parked in a lot of a medical center located at 3460 S.

  Congress Avenue, Palm Springs, Florida, and later observed CRUZ PAZ walking between CRUZ

  PAZ vehicle #2 and the business. At approximately 10:00 a.m., law enforcement established

  mobile surveillance of CRUZ PAZ as CRUZ PAZ departed in CRUZ PAZ vehicle #2.

         23.     On this date at approximately 11 :20 a.m., law enforcement observed CRUZ PAZ

  park CRUZ PAZ vehicle #2 in a common area between 8336 and 8360 Dundee Terrace, Miami

  Lakes, Florida. Law enforcement observed that CRUZ PAZ exited from the vehicle empty handed

  and walk toward 8356 Dundee Terrace, Miami Lakes.          Approximately 32 minutes later, law

   enforcement observed CRUZ PAZ and a Hispanic male wearing a white button down shirt (later
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  identified by law enforcement and CRUZ PAZ as Yaciel MARAGOTO) emerge from 8356

  Dundee Terrace and stand at the rear of a brown Nissan Titan that was backed in near the door to

  the residence. After a short time, CRUZ PAZ and MARA GOTO re-entered 8356 Dundee Tenace

  and CRUZ PAZ then exited and was observed to be carrying a white, envelope shaped package

  under one arm and a bag in CRUZ PAZ's hands. CRUZ PAZ then entered CRUZ PAZ vehicle #2

  and was followed by law enforcement as CRUZ PAZ drove away. Law enforcement maintained

  constant visual smveillance of CRUZ PAZ as CRUZ PAZ ultimately drove north on Interstate 95

  and entered Palm Beach County, Florida.

          24.    At approximately 12:55 p.rn., a marked Palm Beach Sheriffs Office vehicle

  initiated a traffic stop of CRUZ P AZ's vehicle after observing CRUZ PAZ change lanes on

  Interstate 95 without signaling. After making contact with CRUZ PAZ, CRUZ PAZ provided

  consent to search CRUZ PAZ vehicle #2. Upon doing so, law enforcement located a white

  envelope that contained two clear plastic bags that each contained a chunky white substance

  suspected to be cocaine. 8 At this point, CRUZ PAZ was detained and was relocated to a nearby

  area off of Interstate 95 where CRUZ PAZ was advised of the Miranda warnings. Post-Miranda,

  CRUZ PAZ initially stated that CRUZ PAZ had no knowledge of cocaine being inside CRUZ PAZ

  vehicle #2. Law enforcement informed CRUZ PAZ that, given CRUZ P AZ's criminal history

  involving controlled substances, CRUZ PAZ's story was not believable. CRUZ PAZ was then

  advised that if CRUZ PAZ wanted to cooperate with the investigation in an effort to help CRUZ

  PAZ and possibly receive future judicial consideration, law enforcement could spend additional




   8Law enforcement later conducted a field test of the chunky white substance, which produced
   positive results for the presence of cocaine. Law enforcement also determine that the total package
   weight of the suspected cocaine (including the evidence bag) was approximately 72 grams.
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  time speaking with CRUZ PAZ. CRUZ PAZ agreed and was then transported to the Palm Beach

  County Sheriffs Office for an interview.

          25.     During the subsequent interview, CRUZ PAZ advised that CRUZ PAZ had

  acquired the suspected cocaine that was seized from CRUZ PAZ vehicle #2 (which CRUZ PAZ

  later reported weighed approximately two ounces) from " Yaciel." CRUZ PAZ further stated that

  CRUZ PAZ had gone to "Yaciel's" residence and watched " Yaciel" separate the two ounces from

  a larger amount of cocaine that CRUZ PAZ estimated was approximately one kilogram of cocaine.

  CRUZ PAZ advised that CRUZ PAZ had observed an additional amount of suspected cocaine

  inside boxes within "Yaciel' s" residence and estimated that it was either seven or eight kilograms

  of suspected cocaine. CRUZ PAZ advised that CRUZ PAZ had been acquiring kilogram and

  fractional ki logram amounts of cocaine from "Yaciel" for more than one year and estimated that

  CRUZ PAZ had acquired approximately 15 to 20 ki lograms of cocaine from "Yaciel" during that

  period. CRUZ PAZ stated that in the past, "Yaciel" had delivered cocaine to CRUZ PAZ in Palm

  Beach County. CRUZ PAZ was then shown a Florida DAVID system photograph of Yaciel

  MARAGOTO and CRUZ PAZ positively identified the photograph as being "Yaciel." 9 CRUZ

  PAZ, who had been in possession of two telephones at the time of the traffic stop, advised that

  CRUZ PAZ had MARAGOTO ' s phone number stored in one of the phones under the label

  "Yaciel."     CRUZ PAZ then allowed law enforcement to look in the "flip" phone and law

  enforcement identified telephone number (56 1) XXX-449 8 stored as "Yaciel." 1               °   CRUZ PAZ



  9 T he Florida DA YID system lists MARAGOTO's address as 8356 Dundee Terrace, Miam i Lakes, Florida 33016.

  This is the same address where CRUZ PAZ was observed walking toward wh ile empty handed and later walking
  away whi le carrying a white e nvelope shaped object and bag. Additional ly, law enforcement identified
  MARAGOTO as being the individual who ex ited from 8356 Dundee Terrace, Miami Lakes, with the CR UZ PAZ
  and standing outside the residence with CRU Z PAZ near a N issan T itan truck.
  10 A review of the telephone toll records previo usly obtained for C RUZ PAZ 's phone revealed that C RUZ PAZ's

  phone had been in contact w ith telephone number (56 1) XXX-4498 contemporaneous to C RUZ PAZ traveling to the
  a rea of 8356 Dundee Terrace, Miami Lakes on Septembe r 28, 20 19, December I0, 201 9, and December 30, 20 19.
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  advised that CRUZ PAZ did not remember the number to "flip" phone and advised that law

  enforcement could call another phone to determine what number displayed. Upon doing this, law

  enforcement was able to confirm that the "flip" phone was the number intercepted during the

  course of the interception of A.M.'s wire communications. Additionally, CRUZ PAZ reported

  that CRUZ PAZ still owed MARAGOTO in excess of $50,000.00 for cocaine that CRUZ PAZ

  had previously obtained from MARAGOTO and indicated that CRUZ PAZ was able to repay

  MARAGOTO by continuing to redistribute the cocaine supplied by MARAGOTO and providing

  MARAGOTO with the profit that CRUZ PAZ would have made on the distribution of the cocaine.

  For this reason, CRUZ PAZ believed that MARA GOTO would not distribute the cocaine CRUZ

  PAZ observed inside MARAGOTO's residence to anyone else without first checking with CRUZ

  PAZ to determine if CRUZ PAZ had a buyer for the cocaine.

         26.    CRUZ PAZ was later shown a video that law enforcement had taken during a "drive

  by" of 8356 Dundee Terrace, Miami Lakes, Florida, and CRUZ PAZ identified the video as

  depicting MARAGOTO' s residence.

         27.    On February 17, 2020, law enforcement made contact with CRUZ PAZ and CRUZ

  PAZ reported that CRUZ PAZ had not had contact with MARAGOTO since FebruaJy 14, 2020.

         28.    On February 18, 2020, at approximately 12:00 p.m., CRUZ PAZ received an

  incoming call from MARAGOTO's phone (after previously placing two outgoing calls to

  MARAGOTO that were unanswered). During this call, which was monitored and recorded by law

  enforcement, CRUZ PAZ advised MARAGOTO that CRUZ PAZ" ... had three jobs and a pair

  of halves ... " (coded conversation referring to CRUZ PAZ wanting thJee kilograms of cocaine

  and two half-kilograms of cocaine, for a total of four kilograms of cocaine). CRUZ PAZ asked

  MARAGOTO when he (MARAGOTO) could a1Tive (coded conversation asking how soon
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  MARAGOTO could anive in Palm Beach County with the cocaine). MARAGOTO indicated that

  he (MARAGOTO) could be there at 7:00 p.m. but CRUZ PAZ requested that it be earlier because

  CRUZ PAZ's "people" (coded conversation for cocaine customers) were not going to wait. CRUZ

  PAZ then asked MARAGOTO if he (MARAGOTO) was " ... good with the work" (coded

  conversation for still possessing cocaine) and MARAGOTO affirmed. The call subsequently

  ended.

           29.    On February 18, 2020, at approximately 12:16 p.m., law enforcement officers

  established surveillance at 8356 Dundee Terrace, Miami Lakes, Florida. At approximately 1:23

  p.m., CRUZ PAZ received an incoming call from telephone number (561) XXX-4498 and spoke

  with MARAGOTO. During this call, which was monitored and recorded, MARA GOTO indicated

  the he (MARAGOTO) would be leaving at approximately 2:00 p.m. to come meet with CRUZ

  PAZ.

           30.    At approximately 2:30 p.m., law enforcement officers conducting surveillance at

  8356 Dundee Terrace, Miam i Lakes, Florida observed MARAGOTO exit the residence and noted

  that he was carrying a black backpack, which he was carrying on the front of his

  body. MARAGOTO walked to and entered a larger Lexus SUV displaying Florida license plate

  KGRX3 l , and then departed the residence. Agents followed MARAGOTO as MARAGOTO

  drove in an erratic manner consistent with a "heat run". Law enforcement ultimately followed

  MARAGOTO back to the Dundee Terrace residence where agents observed him exiting the larger

  Lexus without the backpack and entering the residence.

           3 1.   At approximately 3 :23 p.m., a brown Nissan Titan (later determined to display

  Florida license plate LXGX83) arrived and parked next to the aforementioned Lexus. Law

  enforcement observed the driver of the N issan, later identified as Y.G., exit the Nissan and move
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  quickly to the passenger side of the larger Lexus where he opened the larger Lexus door and the

  rear passenger side door of the Nissan. Law enforcement advised that Y.G. reached into the Lexus

  and removed an item, which he then transferred to the rear passenger side of the Nissan. Y.G. then

  closed both vehicle doors and quickly returned to the driver's seat and departed the residence. Law

  enforcement noted that, as this was happening, MARAGOTO had exited the residence and stood

  near the fro nt door approximately ten feet from where Y.G. was moving around between the

  vehicles. When Y.G. departed, MARAGOTO reentered the residence. Law enfo rcement followed

  Y.G. and maintained constant visual survei ll ance of him as he ultimately traveled north on the

  Florida Turnpike.

         32.     At approximately 3:30 p.m., S.L. (identified as the mother of MARAGOTO's

  child) arrived at the residence in a different smaller Lexus SUV displaying Florida license plate

  CLRX71. S.L. backed this smaller Lexus in a parking space near the front door and entered the

  residence. At approximately 3:45 p.m., law enforcement conducted a traffic stop of the N issan

  Titan driven by Y.G. on the Florida Turnpike near Commercial Boulevard. Y.G. provided consent

  to search the Nissan and a law enforcement K9 was deployed to conduct a "sniff' around the

  vehicle. The K9 alerted to the presence of an odor of a controlled substance emanating from the

  vehicle and a search of the passenger compartment resulted in the recovery of a black backpack

  from the rear passenger side that contained approximately four (4) kilograms of suspected cocaine.

         33 .    Between approximately 4: 15 p.m. and 4:45 p.m., law enforcement observed an

  increased amount of foot traffic in the area of 8356 Dundee Terrace, including MARAGOTO and

  N.E. (later identified as MARAGOTO's mother) exiting from the residence and walking through

  the parking area while appearing to look up and down the street as if they were trying to locate

  someone. Law enforcement also observed an unidentified Hispanic male make approximately
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  three trips from the residence to the area where the smaller Lexus bearing Florida license plate

  CLRX71 was parked. During this period, MARAGOTO entered the larger Lexus displaying

  Florida license plate KGRZ3 l and departed. A short time later, law enforcement conducted a

  traffic stop of this larger Lexus and detained MARA GOTO.

         34.     At approximately 4: 55 p.m., law enforcement executed a federal search warrant at

  the residence and determined that S.L., N.E. , and a male infant were the only individuals

  inside. Prior to conducting a physical search of the residence pursuant to a federal search warrant,

  law enforcement requested that a K9 enter the residence and conduct a "sniff' inside the

  residence. Upon approaching the residence, the certified narcotics K9 alerted to the rear passenger

  door of the smaller Lexus displaying Florida license plate CLRX7 1 (previously observed being

  driven by S.L. and parked in the area with the unidentified male was previously observed walking

  multiple times). A search of the smaller Lexus revealed a cardboard baby wipe box in the

  floorboard of the rear passenger side and law enforcement observed what appeared to be kilogram-

  sized packages of suspected cocaine inside the box. A subsequent search of the box revealed that

  it contained seven kilogram-sized packages of suspected cocaine in addition to five smaller bags

  of fractional kilogram amounts of suspected cocaine.

         35.     Inside the residence, law enforcement located and seized numerous kilogran1

  wrappers and plastic packaging materials. Additionally, law enforcement located and seized a

  loaded Glock .45 caliber handgun from behi nd a dresser in the bedroom N .E. claimed as hers.


         36.     Based on the forgoing information, I beli eve there is probable cause to believe that

   Yaciel MARAGOTO and Juan Carlos CRUZ PAZ committed the offense of conspiracy to possess
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  with intent to distribute more than 500 grams of cocaine, in violation of Title 2 1, United States

  Code, Sections 841(a)(l) and 846.




                                                      T
                                                      h± B
                                                         *~
                                                      Drug Enforcement Administration


                                                                                  ~
     Sworn to and subscribed before me in West Palm Beach, Florida this _ l_f_ day of February
     2020.


                                                      Dave Lee Brannon
                                                      United States Magistrate Judge
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


                                          PENALTY SHEET


                                       CASE NO.    20-8081-DLB



  Defendant's Name: YACIEL MARAGOTO



   COUNT            VIOLATION                            U.S. CODE       MAX. PENALTY
      1     Conspiracy to possess with intent to   2 1:84 1(a)( I )   5 year m inimum mandatory
            distribute 500 grams or more of        21 :84 6           up to 40 years in prison
            cocaine                                                   SR : 4 years up to life
                                                                      $4 mill ion fine
                                                                      $ I 00 spec ial assessment
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


                                         PENALTY SHEET


                                       CASE NO.    20-8081-DLB



  Defendant's Name: JUAN CARLOS CRUZ PAZ



   COUNT            VIOLATION                           U.S. CODE      MAX. PENALTY
      1     Conspiracy to possess with intent to   21:84 1(a)( 1)   5 year minimum mandatory
            distribute 500 grams o r mo re of      2 1:846          up to 40 years in prison
            cocaine                                                 SR: 4 years up to life
                                                                    $4 mil lion fine
                                                                    $ 100 specia l assessment
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               Case N o.   20-8081-DLB




  UNITED STATES OF AMERICA

  v.

  YACIEL MARAGOTO and
  JUAN CARLOS CRUZ PAZ,
                    Defendants.
  - - - - - - - -- - - - - -I

                                  CRIMINAL COVER SHEET

  1.   Did this matter originate from a matter pending in the Central Region of the United States
       Attorney' s Office prior to August 9, 201 3 (Mag. Judge A licia Valle)?       Yes I No

  2.   Did this matter originate from a matter pending in the Northern Region of the United States
       Attorney' s Office prior to August 8, 2014 (Mag. Judge Shaniek Maynard)? _ Yes_{_ No



                                                 Respectfully submitted,

                                                 ARIANA FAJARDO ORS HAN
                                                 UNITED STATES ATTORNEY


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